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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            EASTERN DISTRICT OF VIRGINIA
                                  ALEXANDRIA DIVISION

 UNITED STATES OF AMERICA

               v.                                 Case No. 1:18-cr-83-TSE-1

 PAUL J. MANAFORT,

               Defendant.


                         NOTICE OF PRESIDENTIAL PARDON

       The United States of America, by and through its undersigned counsel, hereby notifies the

Clerk of Court for the United States District Court for the Eastern District of Virginia that on

December 23, 2020, the President of the United States granted Paul J. Manafort a full and

unconditional pardon in the above captioned matter.

                                            Respectfully submitted,

                                            G. Zachary Terwilliger
                                            United States Attorney


                                      By:                  /s/
                                            William Fitzpatrick
                                            Assistant United States Attorney
                                            United States Attorney’s Office
                                            Eastern District of Virginia
                                            2100 Jamieson Avenue
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on January 9, 2021, I electronically filed the foregoing with the Clerk

of Court using the CM/ECF system, which will send a notification of that electronic filling (NEF)

of the foregoing to the attorney of record for the defendant.


                                                             /s/
                                              William Fitzpatrick
                                              Assistant United States Attorney
                                              United States Attorney’s Office
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                                              Alexandria, Virginia 22314
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